Stah| § Cowen

attorneys

August 26, 2016

VIA ECF

The Honorable J P Stadtmueller
United States Courthouse

517 East Wisconsin Avenue
Milwaukee, WI 53202

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F.»M;til: khunt’_c.gj'stah|cowen.com

Re: American Towers LLC v. Polnet Communications Ltd.

Case No. 16-cv-00781-JPS

Dear Judge Stadtmueller:

This firm represents Polnet Communications Ltd., the Defendant in the above-referenced
matter. l request that I be permitted to attend the Court’s Notice of Rule 16 Scheduling
Conference set for September l, 2016 at 11:00 a.rn. via telephone l\/Iy direct line is (312) 377-

7764.

Thank you for your consideration of this request. If the Court has any questions, or
Would like this request handled in any other Way, please feel free to contact me at your

STA['!]L COWEN CROWLEY ADDIS LLC
/`§;

convenience
Very truly yours,
K'evin V_ Hum
KVH:cbp

cc: Joshua A. Hasko

Stahl cowen crowley Addis LLCI 55WEStr\/1nnmesrmer| suite tzunl chicagu, lllinoiseusus¢sum l 312 641 0060| FA><3126415959 l www.srahlcuvten_¢om

